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                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF OREGON


UNITED STATES OF AMERICA,                      3:18-cr-00499-BR

          Plaintiff,                           OPINION AND ORDER


v.

EMANUEL DANTE HALL,

          Defendant.


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BROWN, Senior Judge.

     This matter comes before the Court on remand from the Ninth

Circuit for the Court to reassess Defendant Emanuel Dante Hall’s

Motion (#78) to Reduce Sentence Pursuant to 18 U.S.C.

§ 3582(c)(1)(A)(i) under the standard set out in United States v.

Aruda, 993 F.3d 797, 799 (9th Cir. 2021).         The Court concludes

the record is sufficiently developed, and, therefore, oral

argument would not be helpful to the Court’s reassessment.                  For

the reasons that follow, the Court DENIES Defendant's Motion.



                               BACKGROUND

     On October 17, 2018, Defendant was charged with one count of

Felon in Possession of a Firearm in violation of 18 U.S.C.

§ 922(g)(1).   The Indictment alleged on September 30, 2018,

Defendant “did knowingly and unlawfully possess” a firearm and

had been convicted of the following crimes punishable by

imprisonment for a term exceeding one year:          (1) Unlawful Use of

a Weapon in November 2013, (2) Felon in Possession of a Firearm

in September 2012, (3) Riot in September 2008, and (4) Felon in

Possession of a Firearm in 2007.       On June 26, 2019, Defendant

pled guilty to the charge of Felon in Possession pursuant to a

Plea Agreement.   On November 18, 2019, the Court sentenced

Defendant to a prison term of 60 months imprisonment and to three

years of supervised release.


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     On October 2, 2020, Defendant filed a Motion (#78) to Reduce

Sentence Pursuant to 18 U.S.C. § 3583(c)(1)(A)(i).

     On December 15, 2020, the Court issued an Opinion and Order

denying Defendant’s Motion to Reduce Sentence.

     On January 7, 2021, Defendant appealed the Court’s

December 15, 2020, Opinion and Order.

     On April 8, 2021, the Ninth Circuit issued Aruda, in which

it clarified certain standards that apply when evaluating motions

for compassionate release.      The government moved to remand the

matter to this Court to permit the Court to evaluate Defendant’s

Motion to Reduce Sentence under the standard clarified in Aruda.

     On July 22, 2021, the Ninth Circuit remanded the matter to

this Court to reassess Defendant Motion to Reduce Sentence under

the standard set out in Aruda.

     On September 15, 2021, Defendant filed a Supplemental

Memorandum in Support of his Motion to Reduce Sentence.              The

government filed a Response to Defendant’s Supplemental

Memorandum on October 1, 2021.      Defendant filed a Supplemental

Reply on November 9, 2021, and the Court took the matter under

advisement on that date.



                               DISCUSSION

     Defendant has 17 months left on his 60-month sentence.

Defendant moves for an order reducing his sentence to time served


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and amending the conditions of his supervised release to include

a period of community confinement at a residential reentry

center or at a “probation-approved residence” pursuant to

§ 3582(c)(1)(A)(i) on the ground that he suffers from a number of

underlying conditions “that increase his risk of serious illness

from COVID-19.”

I.   FSA Compassionate Release Standards

     “‘[A] judgment of conviction that includes [a sentence of

imprisonment] constitutes a final judgment’ and may not be

modified by a district court except in limited circumstances.”

Dillon v. United States, 560 U.S. 817, 824–25 (2010)(quoting

18 U.S.C. § 3582(b)).    Compassionate release is an exception in

extraordinary cases.

     “For over thirty years, under the original statute, only the

BOP Director could file a § 3582(c)(1)(A) motion for a sentence

reduction on a defendant's behalf.          However, as part of the First

Step Act of 2018, [FSA] Congress amended § 3582(c)(1)(A) to allow

a defendant to seek a reduction directly from the court.”                United

States v. Aruda, 993 F.3d 797, 799 (9th Cir. 2021).

Specifically, the FSA amended 18 U.S.C. § 3582(c)(1)(A) to

provide:

           [T]he court . . . upon motion of the defendant
           after the defendant has fully exhausted all
           administrative [remedies] or the lapse of 30 days
           from the receipt of such a request by the warden
           of the defendant's facility, whichever is earlier
           may reduce the term of imprisonment . . . after

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          considering the factors set forth in section
          3553(a) to the extent that they are applicable, if
          it finds that–

               (i) extraordinary and compelling reasons
          warrant such a reduction

                                     * * *

          and that such a reduction is consistent with
          applicable policy statements issued by the
          Sentencing Commission.

FSA, 132 Stat. 5194, Pub. L. No. 115-391 (2018)(emphasis added).

     Congress, however, did not provide any “statutory definition

of ‘extraordinary and compelling reasons.’           Instead, Congress

stated . . . the Sentencing Commission, ‘in promulgating general

policy statements regarding the sentencing modification

provisions in section 3582(c)(1)(A) of title 18, shall describe

what should be considered extraordinary and compelling reasons

for sentence reduction.’”      Aruda, 993 F.3d at 800.

     Application Note 1 to United States Sentencing Guidelines

(U.S.S.G.) § 1B1.13 sets out the Sentencing Commission’s policy

statement regarding “[r]eduction[s] in [t]erm[s] of

[i]mprisonment Under 18 U.S.C. § 3582(c)(1)(A)” as follows:

           1.   Extraordinary and Compelling Reasons.-
                . . . extraordinary and compelling reasons
                exist under any of the circumstances set
                forth below:

                (A) Medical Condition of the Defendant.--

                                        * * *

                      (ii) The defendant is--


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                             (I) suffering from a serious
                             physical or medical condition,

                                        * * *

                 that substantially diminishes the ability of
                 the defendant to provide self-care within the
                 environment of a correctional facility and
                 from which he . . . is not expected to
                 recover.

That policy statement also requires the court to consider whether

the defendant is “a danger to the safety of any other person or

to the community, as provided in 18 U.S.C. § 3142(g)” when a

defendant satisfies the requirements of § 1B1.13(1).              U.S.S.G.

§ 1B1.13(2).    The Sentencing Commission, however, “has not

updated § 1B1.13 since the [FSA] amended § 3582(c)(1)(A).               The

current version of § 1B1.13 refers only to motions filed by the

BOP Director, and does not reference motions filed by a defendant

as now allowed under § 3582(c)(1)(A).”         Aruda, 993 F.3d at 800.

     After the FSA amended § 3582(c)(1)(A) district courts across

the country were split on whether § 1B1.13(1) was an “applicable

policy statement[] issued by the Sentencing Commission” as to

motions for compassionate release filed by defendants rather than

by the BOP.    The Ninth Circuit addressed this split in Aruda

noting:

          (1) the text of § 3582(c)(1)(A) . . . only
          requires courts to consider “applicable” policy
          statements by the Sentencing Commission; (2) the
          text of U.S.S.G. § 1B1.13, . . . begins “[u]pon
          motion of the Director of the Bureau of Prisons”;
          (3) the text of Application Note 4 to § 1B1.13,
          . . . states . . . “[a] reduction under this

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          policy statement may be granted only upon motion
          by the Director of the Bureau of Prisons pursuant
          to 18 U.S.C. § 3582(c)(1)(A)”; (4) the text of
          Application Note 1(D) to § 1B1.13 . . . is a
          catch-all provision allowing only the “Director of
          the Bureau of Prisons” to determine “other”
          extraordinary and compelling reasons; and (5) the
          legislative history of the First Step Act's
          compassionate-release amendment . . . sought to
          expand and expedite compassionate-release motions
          because they had seldom been brought by the BOP.

Aruda, 993 F.3d at 801 (citations omitted).          Ultimately the Ninth

Circuit concluded “the Sentencing Commission has not yet issued a

policy statement applicable to § 3582(c)(1)(A) motions filed by a

defendant,” and, therefore, “the current version of U.S.S.G.

§ 1B1.13 is not an ‘applicable policy statement[ ]’ for 18 U.S.C.

§ 3582(c)(1)(A) motions filed by a defendant.”           Id.    The Ninth

Circuit, however, also concluded the “Sentencing Commission's

statements in U.S.S.G. § 1B1.13 may inform a district court's

discretion for § 3582(c)(1)(A) motions filed by a defendant, but

they are not binding.”       Id. (citing United States v. Gunn, 980

F.3d 1178, 1180 (7th Cir. 2020)).      Pursuant to Aruda, therefore,

the policy statement in U.S.S.G. § 1B1.13 is merely advisory

rather than mandatory in the context of motions for compassionate

release brought pursuant to § 3582(c)(1)(A) by defendants rather

than by the BOP.   Accordingly, this Court may only consider the

criteria set out in § 1B1.13 as advisory when evaluating

Defendant’s Motion for Compassionate Release.

     In its December 15, 2020, Opinion and Order the Court


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considered the policy statement in U.S.S.G. § 1B1.13 to be

mandatory rather than advisory in the context of motions for

compassionate release brought pursuant to § 3582(c)(1)(A) by

defendants, the Court, therefore, must reevaluate Defendant’s

Motion to Reduce Sentence under the appropriate standard.

II.   Defendant’s Medical Condition

      In his Motion to Reduce Sentence Defendant asserted he has a

serious medical condition within the meaning of U.S.S.G.

§ 1B1.13.    Specifically, Defendant noted there had been confirmed

cases of COVID-19 at FCI Sheridan.           Defendant asserted although

he is only 32 years old, he “falls into the category of inmates

who are at heightened risk of serious illness from COVID-19” due

to his serious health conditions that include “coronary artery

disease, obesity, hypertension, and latent tuberculosis.”                 Def.’s

Mot. to Reduce Sentence at 4.

      In its Response to Defendant’s Motion to Reduce Sentence the

government did not dispute there had been confirmed cases of

COVID-19 at FCI Sheridan or that Defendant “is afflicted with

health conditions which could render him at greater risk for

illness were he to contract COVID-19.”           Gov’t Resp. at 4.        In

fact, the government stated if Defendant’s health conditions

“were the Court’s only consideration, [D]efendant’s prior release

request and health conditions could warrant a reduction in his

sentence.”   Id.


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     On that record the Court concluded in its December 15, 2020,

Opinion and Order that Defendant established he was “suffering

from a serious physical or medical condition . . . that

substantially diminishes the ability of the defendant to provide

self-care within the environment of a correctional facility and

from which he . . . is not expected to recover” and, therefore,

that he had a serious medical condition within the meaning of

U.S.S.G. § 1B1.13.

     In Defendant’s Supplemental Motion filed after the Ninth

Circuit’s remand he notes his health has deteriorated since the

court issued its December 15, 2020, Opinion and Order.

Specifically, Defendant notes his body mass index (BMI) has

increased from 33.1 to 44.1 and he is now prediabetic in addition

to his other health conditions.

     The government acknowledges Defendant’s weight gain and

prediabetic condition, but notes Defendant is young and has been

fully vaccinated against COVID-19, and, therefore, Defendant

cannot satisfy the extraordinary and compelling standard.

     Although the Ninth Circuit has not addressed whether an

individual who has health conditions like those suffered by

Defendant and who is fully vaccinated against COVID-19 can

satisfy the extraordinary and compelling standard, this Court has

previously concluded such an inmate cannot satisfy that standard.

See United States v. Gomez, No. 3:09-CR-00243-BR, 2021 WL


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3141506, at *5 (D. Or. July 26, 2021)(“[T]he Court concludes

Defendant has not satisfied the extraordinary and compelling

standard because he is fully vaccinated against COVID-19, which

‘minimizes any increased risk he face[s] due to his medical

conditions.’”); United States v. Wills, No. 3:15-CR-00465-BR,

2021 WL 2179256, at *4 (D. Or. May 27, 2021)(“[T]he Court

concludes Defendant has not satisfied the extraordinary and

compelling standard because he is fully vaccinated against

COVID-19.”).   Other district courts in the Ninth Circuit and

other judges in this District have also concluded inmates who

have been fully vaccinated and who suffer from conditions similar

to those of Defendant have not satisfied the extraordinary and

compelling standard.     See, e.g., United States v. Prince,

No. 3:18-CR-00616-MO-1, 2021 WL 2903222, at *1 (D. Or. July 8,

2021)(denying the defendant’s motion for compassionate release on

the ground that although the defendant suffers from serious

medical conditions, he is fully vaccinated against COVID-19);

United States v. Cardoza, No. 3:17-CR-00438-JO, 2021 WL 932017,

at *1 (D. Or. Mar. 11, 2021)(concluding the defendant, who was

obese and suffered from asthma, “has not proven ‘extraordinary

and compelling reasons’ justifying his release pursuant to 18

U.S.C. § 3582(c)(1)(A)” based on his “vaccination and the low

rate of infection at FCI Terminal Island”); United States v.

Pena, No. CR1900296001PHXDJH, 2021 WL 1688240, at *1 (D. Ariz.


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Apr. 28, 2021)(“[T]he Government notes [Defendant] received both

doses of the COVID-19 vaccine.       The Government contends this is

an additional basis to deny her current Motion [for Compassionate

Release].   The Court agrees.”); United States v. Sakuma, No. CR

12-00055 JMS, 2021 WL 1536571, at *3 (D. Haw. Apr. 19, 2021)

(“[T]aking into account Defendant's age [58], risk factors

[diabetes, high blood pressure, and high cholesterol], and that

he has been vaccinated, the court concludes that [Defendant] has

failed to demonstrate that extraordinary and compelling reasons

warrant compassionate release.”); United States v. Martinez,

No. 19-CR-5218-MMA, 2021 WL 927360, at *3 (S.D. Cal. Mar. 10,

2021)(Even though the defendant suffered from obesity and high

blood pressure, the court denied the defendant’s motion for

compassionate release because the defendant had been fully

vaccinated against COVID-19.); United States v. Grummer,

No. 08-CR-4402-DMS, 2021 WL 568782, at *2 (S.D. Cal. Feb. 16,

2021)(“Although Defendant suffers from several chronic medical

conditions, his vaccination significantly mitigates the risk that

he will contract COVID-19.”); United States v. Ballenger,

No. CR16-5535 BHS, 2021 WL 308814, at *4 (W.D. Wash. Jan. 29,

2021)(denying the defendant’s motion for compassionate release

because “[a]lthough it is currently unknown how long immunity

produced by vaccination lasts, based on evidence from clinic

trials, the Pfizer-BioNTECH vaccine [that defendant] received was


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95% effective at preventing COVID-19 illness.            The defendant has

the burden to establish his entitlement to compassionate release.

He has not met that burden.”).

     In addition, district courts in the Ninth Circuit and other

judges in this District have concluded inmates who are fully

vaccinated against COVID do not satisfy the extraordinary or

compelling standard even in light of the emergence of the delta

variant.   See, e.g., United States v. Gentry, No. 3:08-CR-

00140-JO, 2021 WL 4499035, at *2 (D. Or. Oct. 1, 2021)(denying

motion for compassionate release of fully-vaccinated inmate after

considering delta variant); United States v. Graham, No. 3:12-

CR-00178-MO-1, 2021 WL 4722000, at *1 (D. Or. Aug. 24, 2021)

(same); United States v. Capito, No. CR-1008050001PCTMTL, 2021 WL

4552954, at *4 (D. Ariz. Oct. 5, 2021)(concluding “defendant's

receipt of the COVID-19 vaccine weighs against granting

compassionate release” even after considering the delta variant);

United States v. Mohamud, No. 10CR4246 JM, 2021 WL 4460705, at *4

(S.D. Cal. Sept. 29, 2021)(same); United States v. Finazzo, No.

CR 11-00383 LEK, 2021 WL 4391256, at *3 (D. Haw. Sept. 24, 2021)

(same).

     The Court finds these cases to be persuasive and adopts

their reasoning.    Accordingly, on this record the Court concludes

Defendant has not satisfied the extraordinary and compelling

standard because he is fully vaccinated against COVID-19, which


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minimizes any increased risk he faces due to his medical

conditions.

IV.   Danger to Society

      In his Supplemental Memorandum in Support of his Motion to

Reduce Sentence Defendant continues to assert he would not be a

danger to the community if he was released because he has not had

any disciplinary infractions during his present term of

incarceration; he has earned all credit available for good

conduct; and he has completed numerous educational and

rehabilitative programs, including wellness, communication, math,

and six levels of anger management.           Defendant also notes he

suffered a shattered left femur from gunshot and had metal rods

inserted from his knee to his hip.           Defendant’s injury did not

heal properly, and he had “delayed union of the fracture and

shrapnel remaining in the wound.”        Def.’s Mot. at 3.          As a

result, Defendant was wheelchair bound until November 2019.

Defendant now walks with a cane and experiences severe pain when

he stands or walks.      Defendant asserts his limited mobility

greatly reduces his ability to commit further crimes.

      The government continues to assert Defendant would present a

danger to the safety of any other person or to the community if

he was released.

      In the December 15, 2020, Opinion and Order the Court

considered the § 3142(g) factors when determining whether


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Defendant was a danger.      The Court concluded the facts underlying

Defendant’s crime of conviction, Defendant’s considerable history

of possessing firearms, committing firearms-based felonies, and

reoffending when released from custody indicated Defendant would

continue to be a danger if he was released.           The Court also

concluded Defendant’s gun-shot injury, though severe, did not

indicate Defendant was not likely to be a danger if he was

released.

     Considering the § 1B1.13 criteria set out as advisory rather

than mandatory as directed in Aruda, the Court concludes the

record does not reflect that Defendant would not be a continuing

danger to society if he is released to community confinement.

     Accordingly, in the exercise of its discretion, the Court

DENIES Defendant's Motion to Reduce Sentence because Defendant

has not established he suffers from a sufficiently serious

medical condition and the record does not reflect that Defendant

would not be a continuing danger to society if he is released to

community confinement.



                                CONCLUSION

     For these reasons, the Court DENIES Defendant’s Motion (#78)




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to Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i).

     IT IS SO ORDERED.

     DATED this 29th day of November, 2021.




                                    /s/ Anna J. Brown
                             ANNA J. BROWN
                             United States Senior District Judge




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